          Case 3:13-cr-04510-JAH                          Document 1409                     Filed 05/25/16           PageID.7191            Page 1 of
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     ""AO 245B (CASD) (Rev. 4/14)    Judgment in a Criminal Case                                                                      FILED
                Sheet I                                                                                                                      _   w
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                                                UNITED STATES DISTRICT COURT                                                  CLERK US DISTH1CT COURT
                                                                                                                           SOUTHERN DISTRICT OF CALIFORNIA
                                                    SOUTHERN DISTRICT OF CALIFORNIA                                        BY               IA ,(. DEPUTY

                     UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                          v.                                             (For Offenses Committed On or After November 1, 1987)

                           Hakeem Tayari Dunn -4                                         Case Number: 13-cr-04510-JAH-4
                                                                                         Ricardo M Gonzalez
                                                                                         Defendant's Attorney
    REGISTRATION NO. 46185298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) One of the Superseding Indictment..
    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                           Nature ofOtTense                                                                             Number(s)
18:1962(d); 18:1963,                    Conspiracy to Conduct Enterprise Affairs Through A Pattern of Racketeering Activit) 1
1594(d) and 2428(a)




        The defendant is sentenced as provided in pages 2 through                    5           of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 19[4.
 o    The defendant has been found not gUilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 181 count(S),.;;.re.:.,:m.:,;;a.:.,:i.:,;;ni.:.,:n;;:.g_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0       arel8l dismissed on the motion of the United States.
 181 Assessment: $100.00.

 181 No fine                                          o Forfeiture pursuant to order filed ----­ ----­ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                       TON
                                                                                         TED STATES DISTRICT JUDGE


                                                                                                                                            13-cr-04510-JAH-4
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AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment - Page _...;;2_ of       s
 DEFENDANT: Hakeem Tayari Dunn -4
 CASE NUMBER: 13-cr-04S10-JAH-4
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         Fifty-five months.



    o Sentence imposed pursuant to Title 8 USC Section 1326{b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends Residential Drug Abuse Program and that the defendant NOT be housed in the Western Region.




    o The defendant is remanded to the custody of the United States MarshaL
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Da.m.    Dp.m.   on
               as notified by the United States MarshaL

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before -------------------------------------------------------------------------
        o as notified by the United Marshal.
                                           States
        o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                     By _____~~~~==~~~~~---------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                13-cr-04S1O-JAH-4
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AO 245B (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 - Supenlised Release
                                                                                                          Judgment-Page ---1.- of _---=5'--__
DEFENDANT: Hakeem Tayari Dunn -4                                                                  a
CASE NUMBER: 13-cr-0451O-JAH-4
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September J3, J 994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug ~ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month dunng
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
    The defendant shaIl comply with tlie requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
D by  the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted oca qualifYing offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view ofthe probation officer;
  11)     the defendant shall notifY the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an infurmer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notity third parties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to conflrm the
          defendant's compliance with such notification requirement.

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     AO     (Rev. 9/00) Judgment in a Criminal Case                                                Judgment-Page i.of 5
     Continued 2 - Supervised Release
     Defendant: Hakeem Tayara Dunn
     CASE NUMBER: 13CR4SI0-JAH-4

                                            SPECIAL CONDITIONS OF SUPERVISION


1.   Not enter or reside in the Republic ofMexico without permission of the court or probation officer.

2. Participate in a program ofdrug or alcohol abuse treatment, including drug testing and counseling, as directed by the probation officer.
Allow for reciprocal release ofinformation between the probation officer and the treatment provider. May be required to contribute to the
costs of services rendered in an amount to be determined by the probation officer. based on ability to pay.

3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

4. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days (non-punitive).

5. Resolve all outstanding warrants within 90 days.

6. Submit your person, property, house, residence. vehicle, papers, computer, electronic communications or data storage devices or
media, and effects cell phone or social media accounts to search at any time, with or without a warrant, by any law enforcement or
probation officer with reasonable suspicion concerning a violation of a condition of probation/supervised release or unlawful conduct,
and otherwise in the lawful discharge of the officer's duties. 18 U.S.c. §§ 3563 (b)(23); 3583 (d)(3).

7. Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to the
Internet without prior approval from the court or the probation officer. The offender shall consent to the installation of systems that
will enable the probation officer to monitor computer use on any computer owned or controlled by the offender if you are allowed to
have such a device. The offender shall pay for the cost of installation of the computer software.

8. Provide complete disclosure of personal and business financial records to the probation officer as requested.


9. Shall not associate with any known member, prospect, or associate ofthe (Black MOB/Skanless), or any other gang, or club with a history of
criminal activity, unless given permission by the probation officer.

10. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third­
party communication, with the victim or victim's family, without prior approval of the probation officer.


12. Shall not knowingly loiter, or be present in locations known to be areas where known gang members congregate, unless given
permission by the probation officer.

13. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a known gang,
unless given permission by the probation officer.
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AD     (Rev. 9/00) Judgment in a Criminal Case - Continued 2 - Supervised Release
Defendant: DUNN, Hakeem Tayari         CASE NUMBER: 13CR4510-JAH-04 Judgment-Page 5 of5


                                    Special Conditions Of Supervised Release


14. Not associate with any known prostitutes or pimps and/or loiter in areas frequented by those engaged in prostitution.

15. Participate in a program of mental health treatment as directed by the probation officer, take all medications as
prescribed by a psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the
release ofthe presentence report and available psychological evaluations to the mental health provider, as approved by
the probation officer. Allow for reciprocal release of information between the probation officer and the treatment
provider. May be required to contribute to the costs of services rendered in an amount to be determined by the probation
officer, based on the defendant's ability to pay.
